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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 JOHN AND JANE DOES 1 TO 9, et al.,

                Plaintiffs,
                                                                Civil Action Nos.
        v.                                                25-0325 (JMC), 25-0328 (JMC)

 DEPARTMENT OF JUSTICE, et al.,

                Defendants.


       DEFENDANTS’ OPPOSITION TO PLAINTIFFS MOTION TO CONTINUE

       Defendants the Department of Justice (the “Department”) and the United States of America

(collectively, the “Defendants”) submit this opposition to Plaintiffs Motion to Continue (“Mot.,”

ECF No. 39).

                                       INTRODUCTION

       On February 7, 2025, the parties submitted a proposed consent order (ECF No. 12-1) that

the Court entered that same day (ECF No. 14). By its terms, the consent order held in abeyance

the pending motions for temporary restraining order under certain terms that would remain in

effect pending resolution of Plaintiffs’ anticipated motion for preliminary injunction. Proposed

Order (ECF No. 12-1) at 1. The parties’ submission included a schedule for briefing the anticipated

motion for preliminary injunction that was consistent with the schedule the parties discussed with

the Court at the end of the hearing the preceding day. Id. at 2; see also Hr’g Tr. (Feb. 6, 2025) at

96. As reflected in the hearing transcript, the schedule proposed by the parties contemplated that

the Court would hold a preliminary injunction hearing the week of March 24, 2025. Hr’g Tr. (Feb.

6, 2025) at 96. Indeed, after submission of the proposed consent order, the Court set March 27,

2025, as the date for the preliminary injunction hearing. Order (ECF No. 14) at 2. Although not
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an expressed condition of the consent order, the record amply establishes that all parties understood

that Defendants’ agreement to the consent order was dependent on a prompt resolution of

Plaintiffs’ anticipated preliminary injunction motion.

                                          ARGUMENT

       Plaintiffs’ request to continue the preliminary injunction hearing by one month should be

denied because it would be unduly prejudicial to Defendants. In light of the consent order, any

continuance amounts to a de facto extension of the injunction set forth in that order without the

requisite findings or right to immediate appeal. Yet, a “preliminary injunction is an extraordinary

remedy never awarded as of right.” Winter v. Nat. Res. Def. Council, 555 U.S. 7, 24 (2008). Such

extension, moreover, denies Defendants’ their statutory right to immediately appeal the grant of a

preliminary injunction. See 28 U.S.C. § 1292(a)(1). Plaintiffs’ attempts at downplaying the

significant burden the preliminary injunction and this case places on Defendants are to no avail.

See Mot. (ECF No. 39) at 3. Federal Rule of Civil Procedure (“Rule”) 65(c) recognizes that an

injunction burdens the enjoined party and requires the posting of a bond, which Plaintiffs have not

done. Fed. R. Civ. P. 65(c).

       Remaining under the consent order beyond the anticipated period for resolving Plaintiffs’

preliminary injunction motion is unduly prejudicial given the substantial and threshold questions

raised by Defendants’ filings regarding the Court’s lack of jurisdiction and the absence of any

cognizable claim entitling Plaintiffs to injunctive relief. Currently, both Plaintiffs’ motion for

preliminary injunction and Defendants’ motion to dismiss are ripe for the Court’s ruling. Briefing

as to the former was completed on March 21, 2025, and as to the latter on March 24, 2025.

Defendants’ reply in support of its motion to dismiss—filed March 24—emphasized several

expressed and/or implicit concessions by Plaintiffs that are dispositive of this lawsuit, including




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with respect to Plaintiffs’ Privacy Act claims (Plaintiffs admit there has been no violation of the

Privacy Act to date), APA claim (Plaintiffs have not identified any final agency action that they

are challenging), First Amendment claims (Plaintiffs admit that they were included on the lists at

issue because of their work on January 6 matters not based on a perception of political affiliation),

and mandamus claim (Plaintiffs have not identified any discrete, mandatory duty that has not been

complied with on which to request mandamus relief). Defs.’ Reply (ECF No. 40) at 13-25.

Consequently, there is no basis for delay in a hearing to address these and other issues.

       The request for continuance also should be denied because it is the result of Plaintiffs’ own

delay in raising the issue of expedited discovery. Plaintiffs did not raise the issue at the February

6, 2025, hearing and, instead, waited until February 17, 2025, to first move for such discovery.

See generally First Mot. for Discovery (ECF No. 20). That initial request was so facially overbroad

that it was denied outright by the Court by order dated February 28, 2025. Min. Order (Feb. 28,

2025). Plaintiffs then waited an additional ten days, until March 10, 2025, to file a renewed motion

for expedited discovery. See generally Renewed Disc. Mot. (ECF No. 32). That is the motion that

the Court granted in part by order dated March 22, 2025, Mem. Op. & Order (ECF No. 38), and it

is that order that forms the basis for Plaintiffs’ request for continuance, Mot. (ECF No. 39).

Plaintiffs, however, have failed to explain why it took them nearly five weeks during a six-week

briefing schedule to present for the Court’s consideration a plausible motion for expedited

discovery. The Court should not reward such dilatory behavior by granting a continuance that

would have the effect of extending the injunction in the consent order.

       Defendants recognize that the Court, in its March 22 order, indicated that it might require

responses to the limited discovery to determine its jurisdiction. In making that determination, the

Court did not have the benefit of Defendants’ recently filed reply which, Defendants maintain,




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establishes that discovery is not needed to resolve that threshold jurisdictional issue. Nevertheless,

to facilitate the prompt resolution of this matter, Defendants intend to respond to the interrogatories

soon. Those responses will confirm that the lists at issue have not been disclosed outside the

Department and the review process remains at an early stage, all of which should provide the Court

with any additional information it believes may be needed to assess jurisdiction.

       Defendants also recognize that the Court’s March 22 order directed Defendants to

“produce” certain documents by April 14, 2025. Mem. Op. & Order (ECF No. 38) at 18. The

Court’s order, however, fails to afford Defendants the opportunity to assert applicable privileges

over any potentially responsive documents (to the extent responsive documents exist) in lieu of

producing them. Because the document requests permitted by the Court seek information about

an ongoing review process that is the subject of litigation, it is likely that responsive documents,

if any, will implicate various privileges, including the attorney-client privilege, the deliberative

process privilege, and/or the work product doctrine, among others. Defendants intend to file a

separate motion for clarification and/or reconsideration of the Court’s order to clarify that

Defendants retain the right to assert applicable privileges in lieu of producing them by the stated

date. See Fed. R. Civ. P. 26(b)(1) (providing that the scope of discovery excludes privileged

materials). As litigation over privilege may be time consuming, resolution of Plaintiffs’ motion

for preliminary injunction should not await the outcome of that process.

       Nor is such a delay necessary given the numerous legal deficiencies that Defendants have

identified with respect to Plaintiffs’ Amended Complaint. “[A] court does not exercise its power

to declare the law, and thus need not resolve difficult questions of its jurisdiction, when a prior

judgment of the court forecloses the merits issue.” Sherrod v. Breitbart, 720 F.3d 932, 937 (D.C.

Cir. 2013). As discussed in Defendants’ reply, Plaintiffs’ multiple significant concessions,




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coupled with Supreme Court and D.C. Circuit precedent, foreclose all of Plaintiffs’ claims.

Denying the motion for preliminary injunction and granting Defendants’ motion to dismiss for

failure to state a claim, would not require the Court to use its “law-declaring powers.” See Kramer

v. Gates, 481 F.3d 788, 791 (D.C. Cir. 2007). In short, the Court may assume the existence of

jurisdiction to resolve and still grant Defendants’ motion to dismiss for failure to state a claim,

which leads to the same result: dismissal of Plaintiffs’ case entirely.

                                          CONCLUSION

       For these reasons, Defendants respectfully request that the Court deny the motion to

continue and proceed with the hearing on March 27, 2025.

 Dated: March 25, 2025                      Respectfully submitted,

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                                            United States Attorney

                                            BRIAN P. HUDAK
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                                         [PROPOSED] ORDER

        UPON CONSIDERATION of Plaintiffs’ motion to continue, Defendants’ opposition, and

the entire record herein, it is hereby

        ORDERED that Plaintiffs’ motion is DENIED.




SO ORDERED:



________________                                    ___________________________________
Date                                                JIA M. COBB
                                                    United States District Judge
